
TVETIN.UE for Negroes. Itappeared these Negroes had been ■*"* given by will, to the widow of the testator for life ; and alter her death to the plaintiffs. She married, and her husband sold them to a person under whom the defendant claimed. And after her death, whilst in the possession of the defendant, or the vendee, these plaintiffs sold them. The purchaser sued and was nonsuited, because his action was improperly commenced.— Then the plaintiffs sued in the present action,’but before its commencement the three \ ears had elapsed, and the question now was, whether the verdict which had been given in the iormer action could now be given in evidence : And after much argument the court, decided it could not; for that between the vendor and vendee of a chose iu action, there is no privity which the law will recognize.
